
EeeemAN, J.,
delivered the opinion of the Court.
In August, 1860, complainants filed their bill in Chancery Court, at Somerville, attaching certain slaves, asserting title to them as against the then trustee, one Goodall, and beneficiaries under a certain deed.
They gave bond for the attachment, conditioned as follows: “Now, it the said complainants (naming them) shall pay to defendants all such damages as they or either of them may sustain by wrongfully suing out the attachment herein, and also security for costs according to law, then this bond to be void.”
On the hearing of the case, in 1870, the Chancellor decreed in favor of defendants, and also that the parties signing the attachment bond herein, to wit: complainants and J. J. Holloway, were liable upon said attachment bond for the cash value of the slaves, and interest on the same from the time attached. From the latter portion of this decree there is an appeal to this Court.
It appears from the record, and from the decree, *370that tbe slaves were, in a day or two after being attached, placed, by order of the Chancellor, in the hands of a receiver, and so remained, we assume, until emancipation.
The question is, whether the Chancellor erred in decreeing against the parties on this bond for cash value of slaves at time attached.
We hold he did so err. The slaves were in custody of the law, in the hands of the receiver, an •officer of the Court during the pendency of the litigation, and such custody could not amount to a conversion, the principle on which the decree seems to have been based.
Nor can it be fairly assumed that the loss of the slaves was the result of wrongfully suing out the attachment, in any fair or legitimate sense of these terms.
The slaves being in the'custody of the law during the litigation, did not change the title. They still belonged to defendants until emancipation, and the title being in them, they must bear the loss.
This Court, in case of Lee v. Cone, Adler, et als, held the principle to be as we have stated, and we approve that decision as correct: 4 Col., 395.
The decree of the Chancellor will be reversed in this respect, and the case remanded. Defendants will pay the costs of this suit.
